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              RUTHIE LEE;


                      Plaintiff,

                      V.

                                                                  CV 2:19-140
              SELECT PORTFOLIO SERVICING,
              INC.,

                      Defendant.


                                                   ORDER


                      Plaintiff initiated     this   action in   Glynn    County    Superior

              Court.    See Dkt. No. 1-1.     Defendant removed this action to federal


              court and timely moved to dismiss the Complaint.            Dkt. Nos. 1, 4.

              The Court deferred ruling on that motion and allowed Plaintiff

              seven days to file an amended complaint.           Dkt. No. 9.       Plaintiff

              has now done so.       Dkt. No. 10.


                                              LEGAL STANDARD


                      Under Rule 15 of the Federal Rules of Civil Procedure, a party

              may amend its pleading once as a matter of course within 21 days

              after    service    of a   motion   under   Rule 12(b).    Fed.    R. Civ. P.

              15(a)(1)(B).       An amended pleading "supersedes the former pleading"

              such that "the original pleading is abandoned by the amendment,

              and is no longer a part of the pleader's averments against his

              adversary."        Dresdner Bank AG v. M/V Qlympia Voyager, 463 F.3d


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1210, 1215 (11th Cir. 2006) (internal quotation marks and citation

omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d

1356, 1358 (11th Cir. 1982) (citations omitted) (''Under the Federal

Rules, an amended complaint supersedes the original complaint.").

                                    DISCUSSION


  I.      Defendant's Motion to Dismiss


       Plaintiff timely filed her first Amended Complaint as a matter

of course pursuant to Rule 15(a)(1)(B).              Further, Plaintiff's

Amended Complaint supersedes her original Complaint.              Defendant's

motion to dismiss the original Complaint, dkt. no. 4, has thus

been rendered moot by Plaintiff's filing of her Amended Complaint.

Should Defendant wish to renew its motion to dismiss with regard

to the Amended Complaint, it is granted leave to do so within the

time prescribed by the Federal Rules of Civil Procedure.

  II.     Subject Matter Jurisdiction

       The Court notes that Defendant's notice of removal asserts

federal jurisdiction of this action on the basis of diversity,

stating that Plaintiff and Defendant are citizens of different

states.    Dkt. No. 1 at 2.        Plaintiff's amended complaint, however,

does not set forth a basis for diversity jurisdiction.              Plaintiff

is OBDEBED, within seven (7) days of the date of this Order, to

set    forth   the   basis   for    federal   jurisdiction   of   the   claims

contained in her amended complaint.
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                                            CONCLUSION


                   For the reasons stated above. Defendant's Motion to Dismiss

              the original Complaint, dkt. no. 4, is DENIED as moot.        Plaintiff

              is ORDERED to set forth the basis for federal jurisdiction within

              seven (7) days of today's date.

                   SO ORDERED, this        day of December, 2019.




                                         TON. LISA GODBEY WOOD, JUDGE
                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN   DISTRICT OF GEORGIA




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